Case 9:24-cr-80116-AMC Document 161 Entered on FLSD Docket 05/23/2025 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 24-80116-CR-CANNON/McCabe


  UNITED STATES OF AMERICA

  vs.

  RYAN WESLEY ROUTH,

              Defendant.
  ___________________________________/

                       GOVERNMENT’S ELEVENTH RESPONSE TO
                         THE STANDING DISCOVERY ORDER

         The United States files this Eleventh Response to the Court’s Paperless Standing Discovery

  Order ([ECF No. 28]). This response outlines the discovery materials the United States has

  produced to defense counsel and complies with the Court’s Order Granting In Part the United

  States’ Initial Motion for Protective Order ([ECF No. 69]). On May 23, 2025, the United States

  produced discovery materials to defense counsel of record via one external hard drive. Those

  materials include the items described in the attached index and are numbered Gov022710-

  Gov063539.
Case 9:24-cr-80116-AMC Document 161 Entered on FLSD Docket 05/23/2025 Page 2 of 3




         Please contact the undersigned Assistant United States Attorney if the materials are

  inaccessible.

                                     Respectfully submitted,

                                     HAYDEN P. O’BYRNE
                                     UNITED STATES ATTORNEY

                              By:    /s/Maria K. Medetis Long
                                     Maria K. Medetis Long
                                     Florida Bar No. 1012329
                                     John C. Shipley
                                     Florida Bar No. 69670
                                     Christopher B. Browne
                                     Florida Bar No. 91337
                                     Assistant United States Attorneys

                                     U.S. Attorney’s Office
                                     Southern District of Florida
                                     99 Northeast 4th Street, 8th Floor
                                     Miami, Florida 33132-2111
                                     Telephone: (305) 961-9020
                                     E-mail: maria.medetis.long@usdoj.gov

                                     SUE BAI, SUPERVISORY OFFICIAL PERFORMING
                                     THE DUTIES OF THE ASSISTANT ATTORNEY
                                     GENERAL FOR THE NATIONAL SECURITY
                                     DIVISION

                              By:    /s/ James M. Donnelly
                                     James M. Donnelly, Trial Attorney
                                     Court ID No. A5503331
                                     U.S. Department of Justice
                                     National Security Division
                                     950 Pennsylvania Avenue, NW
                                     Washington, DC 20530
                                     Telephone: 202-514-9866
                                     Email: James.Donnelly3@usdoj.gov




                                               2
Case 9:24-cr-80116-AMC Document 161 Entered on FLSD Docket 05/23/2025 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF on May 23, 2025.

                                                   /s/Maria K. Medetis Long
                                                   Assistant United States Attorney



  cc:   Special Agent Christian Hull, FBI




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